Case 2:05-cr-20129-SH|\/| Document 26 Filed 06/13/05 Page 1 of 2 Page|D 24

IN THE UNITED sTATEs DISTRICT coURT HUI’WYULLL_QG-
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
wEsTERN DIvIsIoN GSJUHlB PH 5=33

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UNITED sTATEs oF AMERICA, ) imm GFTN`MEMFNS
Plaintiff, §
vs. § CR. NO. 05-20129-Ma
MICHAEL ELY, §
Defendant. §

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., With a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from May 3l, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3161(n)(8)(B}(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this 13 ' day Of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-20129 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

